Case 1:22-cv-03401-JPO Document 50-2 Filed 11/03/22 Page 1 of 2




                      Exhibit B
          Case 1:22-cv-03401-JPO Document 50-2 Filed 11/03/22 Page 2 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------x
COMMODITY FUTURES TRADING COMMISSION,

                        Plaintiff,

  - against -
                                                                   No. 22 Civ. 03401 (JPO)
ARCHEGOS CAPITAL MANAGEMENT LP, and
PATRICK HALLIGAN,

                Defendants.
----------------------------------------x

                WHEREAS, on November 3, 2022, the Government submitted a motion seeking to

intervene in this action and seeking a stay of discovery in this action, in light of the pendency of

the parallel criminal action United States v. Sung Kook (Bill) Hwang, et al., 22 Cr. 240 (AKH)

(the “Criminal Action”), in which an indictment has been returned; and

                WHEREAS, the Commodity Futures Trading Commission (the “CFTC”) does not

oppose the stay requested by the Government; and

                WHEREAS, the Court finds that the stay of discovery requested by the

Government is in furtherance of the interests of justice and judicial economy and will not

prejudice any party; it is hereby

                ORDERED that the Government’s motion to intervene is GRANTED;

                IT IS FURTHER ORDERED that discovery in this action is stayed during the

pendency of the Criminal Action.


SO ORDERED:


____________________________________                                    _____________________
HONORABLE J. PAUL OETKEN                                                DATE
UNITED STATES DISTRICT JUDGE
